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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 JORDAN GALLACHER,

                       Plaintiff,                         Case No. 2:21-cv-01674-WSS

        v.

 HIBBETT RETAIL, INC.,

                       Defendant.


                                    NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiff Jordan Gallacher hereby voluntarily

dismisses with prejudice his claims against Defendant Hibbett Retail, Inc.

                                             Respectfully submitted,

                                             /s/ R. Bruce Carlson
                                             R. Bruce Carlson
                                             CARLSON BROWN
                                             222 Broad St.
                                             PO Box 242
                                             Sewickley, PA 15143
                                             bcarlson@carlsonbrownlaw.com
                                             (724) 730-1753


                                             Counsel for Plaintiff
